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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


    United States of America,                              Criminal No. 07-297(3) (DWF)

                         Plaintiff,

    v.                                                 MEMORANDUM AND ORDER

    Joe Darrell Edwards, Jr.,

                         Defendant.


                                      INTRODUCTION

         This matter is before the Court on Defendant Joe Darrell Edwards, Jr.’s

(“Defendant”) motion to reduce his sentence under the First Step Act of 2018 (the “FSA”

or the “Act”). (Doc. No. 1053.)1 The United States of America (the “government”)

opposes the motion. (Doc. No. 1060.) For the reasons set forth below, the Court grants

Defendant’s motion.

                                      BACKGROUND

         In September 2008, after a bench trial, Defendant was convicted of conspiring to

distribute and possess with the intent to distribute fifty or more grams of crack cocaine in

violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846 (Count 1), and conspiring to

possess firearms during and in relation to a drug-trafficking crime in violation of



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       Defendant initially filed his motion pro se but moved for the appointment of
counsel. The Court granted the motion and Court-appointed counsel subsequently filed a
reply memorandum in support of Defendant’s motion. (Doc. No. 1085.)
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18 U.S.C. § 924(o) (Count 2). (Presentence Investigation (“PSI”) ¶ 13; Doc. No. 406 at

25-27 ¶¶ 1-7 (Conclusions of Law); 28 (Order for Conviction ¶¶ 1, 2).) The Court found

that Defendant was involved in a conspiracy lasting from 1992 until 2007 that involved

the participation among members of the Rolling 30’s Bloods (R.T.B) gang to control

territory as an exclusive market for the sale of crack cocaine, and that Defendant and

other members of the R.T.B. gang possessed and used firearms to facilitate individual

drug transactions and to hold their territory.

       At the time of his offense and sentencing, Defendant’s drug conviction had a

statutory range of 10 years to life in prison and a supervised release term of at least

5 years. (21 U.S.C. § 841(b)(1)(A); PSI ¶¶ 95, 98.) Further, Defendant’s firearm

conviction had a statutory penalty range of not more than 20 years’ imprisonment and not

more than 5 years’ supervised release. (PSI ¶¶ 95, 98.) As to the amount of crack

cocaine Defendant was responsible for, the Court stated:

       Neither party has specifically addressed the total quantity of the crack
       cocaine that the Defendant is responsible for beyond the plain language of
       Count 1 that sets forth the charge of conspiracy to possess with the intent to
       distribute fifty or more grams of cocaine base, or crack cocaine. The Court
       reserves the right to establish the quantity proven by proof beyond a
       reasonable doubt, as a jury would, whether that quantity is 150 to 500
       grams, 500 to 1.5 kilos, 1.5 kilos to 4.5 kilos, or more than 4.5 kilos, which
       amounts correlate to offense level ranges from 30 to 38. The Court
       observes, however, that there can be little, if any, doubt that the United
       States has established by proof beyond a reasonable doubt that the members
       of the conspiracy possessed more than 4.5 kilos with the intent to distribute
       them, even if only short periods of time between 1992 and 2007 are
       considered, based upon the record before the Court.

(Doc. No. 406 at 34.) The Court went on to explain that it assumed that the issue “will be

argued to the Court at the time of sentencing.” Id.


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       The Court imposed a sentence of 206 months’ imprisonment on each count, to run

concurrently, to be followed by a term of supervised release of five years per count, also

to run concurrently. (Doc. Nos. 527, 552, 559, 570, 574.) In doing so, the Court

departed downward from the 360-month guideline range. (Doc. Nos. 559, 570.)

Defendant appealed his conviction and sentence. The Eighth Circuit affirmed and the

Supreme Court denied Defendant’s petition for a writ of certiorari. (Doc. Nos. 622, 633.)

       In May 2012, Defendant filed a pro se motion asking the Court to equitably toll

the statute of limitations to allow him to file a § 2255 motion. (Doc. No. 713.) The

Court denied the motion. (Doc. No. 724.) In September 2016, Defendant filed a motion

for a reduced sentence pursuant to 18 U.S.C. § 3582(c)(2). (Doc. No. 904.) The Court

denied the motion. (Doc. No. 930 at 6.) Defendant’s untimely appeal was dismissed.

(Doc. No. 940.)

       The government details Defendant’s conduct while serving his current sentence.

To summarize, from 2007 through 2019, Defendant has been sanctioned over 90 times

for misconduct, and about 55 of his actions resulted in disallowance or forfeiture of good

conduct credit. 2 Defendant’s scheduled release date is March 20, 2024.3




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        The government submits that Defendant’s conduct in prison includes violations
that are sexual in nature, such as exposing himself to prison staff, making sexual gestures
or statements, and engaging in sexual acts (masturbation).
3
        Inmate Locator, Find an inmate, Federal Bureau of Prisons,
https://www.bop.gov/inmateloc/ (last visited December 21, 2020) (“Inmate Locator”).


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      Defendant now argues that under the FSA, his sentence should be reduced to time

served and four years’ supervised release. (Doc. No. 1053.) Defendant asserts that the

statutory penalties for his drug conviction would now be 5 to 40 years, instead of 10

years to life. The government opposes Defendant’s motion, arguing that the statutory

penalties for Defendant’s drug offense have not changed and that a sentence reduction

would be inappropriate in light of Defendant’s “lifetime of crime and misconduct while

in prison and out.” (Doc. No. 1060 at 16.)

                                     DISCUSSION

      The FSA was enacted into law on December 21, 2018. See Pub. L. No. 115-391,

132 Stat. 5194. Before that, in 2010, Congress enacted the Fair Sentencing Act, which

reduced the disparity in sentencing between offenses involving crack and powder

cocaine. See 124 Stat. 2372 (codified at 21 U.S.C. § 841(b)(1)). The Fair Sentencing Act

changed the drug quantities required to trigger certain mandatory minimum sentences,

raising the amount required to trigger the mandatory minimum of ten years from more

than 50 grams of crack cocaine to more than 280 grams. See 21 U.S.C.

§ 841(b)(1)(A)(iii). These changes resulted in more lenient mandatory minimum

sentences for convictions under 21 U.S.C. § 841 for those who committed a crack

cocaine offense before August 3, 2010, but who were not sentenced until after that date.

Dorsey v. United States, 567 U.S. 260, 264 (2012). The Fair Sentencing Act was not

retroactive, however, meaning that sentences from before August 3, 2010 remained as

originally imposed. Dorsey, 567 U.S. at 281.




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       Section 404 of the FSA makes the provisions of the Fair Sentencing Act

retroactive for those convicted of covered offenses—that is, violations “of a Federal

criminal statute, the statutory penalties for which were modified by section 2 or 3 of the

Fair Sentencing Act of 2010” and “committed before August 3, 2010.” FSA § 404(a).

Section 404(b) of the First Step Act provides that “[a] court that imposed a sentence for a

covered offense may . . . impose a reduced sentence as if sections 2 and 3 of the Fair

Sentencing Act . . . were in effect at the time the covered offense was committed.” FSA

§ 404(b).

A.     “Covered Offense”

       Defendant argues that he is eligible for a reduced sentence under the FSA.

Defendant outlines the history of the FSA and its remedial nature that is intended to

correct unfair and racially disparate sentences produced before the Fair Sentencing Act.

Defendant argues that a defendant who committed a crack offense before August 3, 2010

is eligible for a sentence reduction if the statutory penalties for the statute of which he

was convicted were modified by section 2 or 3 of the Fair Sentencing Act.

       The government argues that Defendant was sentenced for crimes that are not

eligible for a sentence reduction under § 404 because he was held responsible for more

than 280 grams of crack, which carries a 10-year minimum under the Fair Sentencing

Act. Thus, the government argues, Defendant’s penalty was not modified by the Fair

Sentencing Act, and the FSA does not apply. However, Courts in this district have

previously rejected this argument. See, e.g., United States v. Brown, 2019 WL 1895090,




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at *2 (D. Minn. Apr. 19, 2019) (citing cases); United States v. Stevens, 2019 WL

5425499, at *2 (D. Minn. Oct. 23, 2019).

       The Court agrees with the reasoning of the above decisions and finds that the

relevant inquiry is the statute of conviction, not the specifics of a defendant’s offense.

Here, Defendant was convicted of possession with intent to distribute 50 grams or more

of crack cocaine, which carried a mandatory minimum term of 10 years. Under the Fair

Sentencing Act, only possession of 280 grams or more of crack cocaine results in a

10-year mandatory minimum.4 As a result, Defendant is eligible for a reduction in

sentence.

B.     The Court’s Discretion

       The First Step Act does not mandate sentence reductions for eligible defendants.

Instead, it is within the Court’s discretion to decide whether to reduce a Defendant’s

sentence. FSA §§ 404(b), (c). The government points out that Defendant’s offense was

part of a conspiracy that involved gang activity that included drug dealing and violence,

and that Defendant has engaged in disruptive and abusive conduct while in prison.


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       The government argues that Defendant was responsible for more than 280 grams
of crack cocaine and, therefore, his statutory penalties were not implicated by the Fair
Sentencing Act and he is not eligible for a sentence reduction. The government also
acknowledges, however, that most district court judges have found that they have
authority to reduce a sentence, even when a defendant was found responsible for more
than 280 grams of crack. See, e.g., United States v. Burke, 2019 WL 2863403, at *2-3
(E.D. Tenn. July 2, 2019) (noting that “[t]he government’s interpretation of § 404(a) is
contrary to the weight of persuasive authority, both within and outside the Sixth Circuit”;
collecting cases); United States v. Broussard, Crim. No. 02-210(1) (DSD), Doc. No. 160
(D. Minn. 2019) (in determining eligibility for relief, the court should consider the statute
of conviction, not defendant’s conduct).


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       The Court does not minimize Defendant’s history of criminal offenses or his

numerous disciplinary violations while in prison. However, the record also reflects that

Defendant was 18- or 19-years old when the conspiracies began in 1990, and he was 36

when the conspiracies ended in 2007. He is now 49 years old and has served nearly 13

years in prison. Despite the many disciplinary incidents in his record, Defendant asserts

that his conduct in prison is improving,5 and that he has been accepted into the RDAP

program, which shows that Defendant is making progress towards improving himself. In

addition, Defendant has engaged in a variety of prison programs, including Victim

Impact Panel, Aids Awareness, parenting programs, various educational courses, and has

had a job. Importantly, Defendant has renounced his gang ties, despite personal risk to

himself in prison. Defendant has also submitted a release plan that involves his intention

to work construction for his cousin’s contracting company, go to school to be a social

worker, and to attend NA/AA class weekly. He also submits that he has strong family

support.

       Defendant argues that if the Court were to use the amended guideline range to

craft a sentence in the same manner as it did at the original sentencing, Defendant’s

sentence would decrease. At the bottom of the guideline range, and subtracting 154

months as credit for time served and hard time credit, Defendant’s sentence would either


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        Defendant notes that only one violation involved actual violence and while he was
sanctioned for possessing a dangerous weapon three times, Defendant asserts that the
weapons were found in his cell, not his person, and that he has no disciplinary incidents
for using a dangerous weapon. In 2019, Defendant had two incidents and no incidents so
far in 2020.


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be 170 months’ or 108 months’ depending on whether the Court used the 324-405 month

range (for at least 2.8 kilograms of crack) or the 262-327 month range (for at least 1.5

kilograms of crack). In addition, Defendant argues that the guideline and statutory ranges

on his supervised-release term have decreased, requiring only at least 4 years.

       When the Court considers the record in its totality, along with the intent and spirit

behind both the Fair Sentencing Act and First Step Act, the Court determines that a

sentence reduction is warranted. Therefore, the Court grants Defendant’s motion and

reduces Defendant’s sentence to time served and 4 years’ supervised release.

                                      CONCLUSION

       Based upon the submissions of the parties, the Court having once more carefully

reviewed the record in this matter, and the Court being otherwise duly advised in the

premises, the Court hereby enters the following:

       1.      Defendant’s Motion to Reduce Sentence (Docket No. [1053]) is

GRANTED;

       2.      Defendant’s term of imprisonment is reduced to time served. Defendant’s

term of supervised release is reduced to 4 years, and the Court re-imposes all the standard

and special conditions of supervised release as in the Amended Judgment (Doc. No. 574);

       3.      On his release, Defendant shall reside for a period of up to 180 days in a

residential reentry center as approved by the probation officer and shall observe the rules

of that facility;

       4.      The Court directs the Bureau of Prisons to immediately commence the

process of releasing Defendant from custody. The Court authorizes Defendant’s release


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from BOP custody as soon as the release plan is implemented, travel arrangements can be

made, and any applicable quarantine period required in light of the COVID-19 pandemic

has been completed. The Court leaves it to the discretion of the Bureau of Prisons and

the United States Probation Office to determine whether any quarantine is served in

Bureau of Prisons custody, a Residential Reentry Center, or in the community; and

      5.     All other aspects of Defendant’s sentence shall remain as previously

imposed.

      LET JUDGMENT BE ENTERED ACCORDINGLY.

Date: December 22, 2020                         s/Donovan W. Frank
                                                DONOVAN W. FRANK
                                                United States District Judge




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